AO 442 (Rev. 11/11) Arrest Warrant



                                          UNITED STATES DISTRICT COURT
                                                                          for the

                                                         Eastern    District of Pennsylvania

                    United States of America                                                                                                           .....
                                                                                                                                                       C
                                   V.                                      )                                              f'l"i         .-,            .,,i;.


                                                                           )
                                                                           )
                                                                                    Case No.         18-cr-26
                                                                                                                           ;:,,
                                                                                                                       '"O IJ'l
                                                                                                                       tl"l--1
                                                                                                                                        -·=
                                                                                                                                        r.:;..?


                                                                                                                                        C-
                                                                                                                                                       .-\
                                                                                                                                                       rr
                                                                                                                                                        0
                                                                                                                        z ... z:        J:l<'"
                                                                                                                                                        V"~)
                                                                           )                                            z""
                                                                                                                        i.n'Z            N
                                                                                                                                                         -1f'"l
                                                                                                                                                         >(")
                                                                           )                                            ·<Ci              (.J1             -11"1
                                                                                                                                                           f"'l-
                        Justin David Max_                                  )                                             r--;:;;           -0
                                                                                                                                                            LJ')<.
                             Defendant
                                                                                                                         <-i               3'.             :x f'~' •
                                                                                                                         ·;::,.-xi
                                                                                                                         :;;r.-
                                                                                                                                                            !Jo"        c:.i
                                                           ARREST WARRANT
                                                                                                                          ..::. (.")
                                                                                                                         1,.._,,
                                                                                                                                  0
                                                                                                                                           .
                                                                                                                                           I;'?
                                                                                                                                             0
                                                                                                                                                  (.
                                                                                                                                                            ;IV
                                                                                                                                                               (,.f/J
                                                                                                                                                               ':I:
                                                                                                                                                                :),I>
                                                                                                                                  """
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      Justin David May
                                   ------------------------------------
who is accused of an offense or violation based on the following document filed with the court:

~ Indictment        D Superseding Indictment   D Information D Superseding Information D Complaint
D Probation Violation Petition   D Supervised Release Violation Petition D Violation Notice D Order of the Court
This offense is briefly described as follows:
18:1341,3559(g)- Mail Fraud
18:1956(a)(l)(B)(i) - Money Laundering
18:2314,3559(g) - Interstate Transportation of Goods Obtained by Fraud
26:7201 - Tax Evasion
18:2 - Aiding and Abetting




Date:         01/25/2018
                                                                                       ~       Mark Ciamaic.'10, De~ Clerk
                                                                                                   Issuing officer's signature


City and state:      _P_h_il_ad_e__,lp_h_ia-'-,_P_A_ _ _ _ _ _ __                               Kate Barkman, Clerk of Court
                                                                                                     Printed name and title


                                                                      Return

          This warrant was recei£d on (date)            / ' ~ ) ., / r(        , and the person was arrested on (date)                   I ,.,Pt:r--1(/'
at (city and state)             ~


Date:           J   'J ~ . . \cf                                                                  C)-6~
                                                                                                  Arresting officer's signature



                                                                                                     Printed name and title
